Case 3:15-cv-01074-JAM Document 214-24 Filed 09/10/16 Page 1 of 3




 EXHIBIT 24
9/9/2016                Case 3:15-cv-01074-JAM    Document
                                             Concussion           214-24
                                                        Legacy Foundation       Filed
                                                                          | Traumatic   09/10/16
                                                                                      Brain Injury Page 2 of 3


    Concussion Legacy Foundation | Traumatic Brain Injury




    1 in 6
    Only 1 in 6 concussions are diagnosed

    90 of 94
    90 of 94 former NFL players have been diagnosed with CTE at the VA­BU­CLF Brain Bank




http://concussionfoundation.org/                                                                                 1/2
9/9/2016                Case 3:15-cv-01074-JAM    Document
                                             Concussion           214-24
                                                        Legacy Foundation       Filed
                                                                          | Traumatic   09/10/16
                                                                                      Brain Injury Page 3 of 3
    Our Mission
    Concussions can derail a life. The Concussion Legacy Foundation believes we all have a responsibility to
    ensure athletes can reach their full potential on and off the field. We are committed to protecting athletes and
    families through research, policy, and education.

    We need your help.




http://concussionfoundation.org/                                                                                       2/2
